                  IN THE UNITED STATES DISTRICT COURT
                FOR THE EASTERN DISTRICT OF WISCONSIN
                            (Milwaukee Division)



JOHN DOE,

       Plaintiff,

 v.                                               Civil Action No. 2:19-cv-00388-JPS

MARIAN UNIVERSITY,

       Defendant.




  PLAINTIFF’S RESPONSE TO DEFENDANT’S EVIDENTIARY OBJECTIONS

      Defendant raised a plethora of evidentiary objections in responding to

Plaintiff’s Proposed Additional Material Facts. Many of the objections failed to

clearly state a legal basis; some of the objections were confusing as to exactly which

exhibit or assertion was being challenged. Still other objections were of dubious

legal basis, e.g., objecting to documents it authored or the statements of its

employees on hearsay grounds, even though those statements are pedagogical

examples of party admissions or adoptive admissions. Fed. R. Evid. 801(d)(2).

       “A party may object that the material cited to support or dispute a fact

cannot be presented in a form that would be admissible in evidence.” Fed. R. Civ. P.

56(c)(2) (emphasis added). Critically, Defendant ignores that record items used to

support or oppose summary judgment need not be admissible. Instead, the content

or information discussed in the record must have an admissible vehicle at trial. See

Celotex Corp. v. Catrett, 477 U.S. 317, 319 (1986) (“The nonmoving party is not


                                       1
        Case 2:19-cv-00388-JPS Filed 12/13/19 Page 1 of 11 Document 54
required to produce evidence in a form that would be admissible at trial in order to

avoid summary judgment.”). Plaintiff’s summary judgment opposition record meets

this test: either the record items are themselves admissible or the material referred

to in the record will be offered through an admissible vehicle. The objections should

be overruled.

      Conciseness Objections

      Defendant objects to PPMF 2, 3, 4, 5, 6, 7, 8, 9, 19, 23, 24, 26 and 29 because

the paragraph contains multiple proposed material facts in violation of Civil L.R.

56(b)(2)(B)(ii). Civil L.R. 56(b)(2)(B)(ii) requires a “concise response to the moving

party’s statement of facts that must contain… a statement, consisting of short

numbered paragraphs, of any additional facts that require the denial of summary

judgment.” Mariam Webster Dictionary defines “paragraph” as “a subdivision of a

written composition that consists of one or more sentences.” Paragraph, The

Mariam Webster Dictionary, (11th ed. 2019). Plaintiff’s paragraphs contain one

material fact described in several concise sentences. This format complies with

Local Rule 56.

      Objections to the Authentication of Internet Websites

      Defendant objects to Plaintiff’s use of websites in PPMF 7, 8, 9 and 10.

Plaintiff offered five websites to provide context to the evidence he offered in

support of his opposition to Defendant’s motion for summary judgment, Two of the




                                       2
        Case 2:19-cv-00388-JPS Filed 12/13/19 Page 2 of 11 Document 54
websites are government websites.1 Two others relate to a film’s website (the film

itself was also offered into evidence).2 The last is the website for the “It’s On Us”

organization.3 Federal Rule of Civil Procedure 56(c)(1)(A) is inclusive and broad

when it lists what items can be included in the record supporting or opposing

summary judgment, specifically allowing “other materials,” to support an assertion

of fact. Fed. R. Civ. P. 56(c)(1)(A).4 Defendant failed to cite any authority suggesting

that relevant information published on an Internet website would be an improper

avenue for opposing summary judgment. Of course, website evidence may need to

overcome authentication or hearsay hurdles. None of the websites at issue here,

however, will be excluded on those or other grounds.




1   Office of Civil Rights (2018): “It is the mission of the Office for Civil Rights is to
ensure equal access to education and to promote educational excellence throughout
the nation through vigorous enforcement of civil rights.”
https://www2.ed.gov/about/offices/list/ocr/complaintintro.html; and

United States Department of Education Office of Civil Rights, Dear Colleague
Letter, (2017), https://www.cmu.edu/title-ix/colleague-title-ix-201709.pdf.

2   The Hunting Ground (2019), http://thehuntinggroundfilm.com; and

The Hunting Ground: The Story (2019), http://thehuntinggroundfilm.com/story/.

3   IT’S ON US (2019), https://www.itsonus.org.

4  Plaintiff believes that the summary judgment record is already of sufficient
volume that it is not necessary or helpful to further supplement the record with an
appendix containing the websites he cited. Nonetheless, pursuant to the 2010
comments to Federal Rule of Civil Procedure 56(c)(1)(A), he is happy to prepare
such an appendix if the Court believes that it would be helpful. Otherwise, he
believes the websites in PPMF 7, 8, 9 and 10 are appropriate “other materials” to
provide background information pursuant to Federal Rule of Civil Procedure
56(c)(1)(A).

                                          3
           Case 2:19-cv-00388-JPS Filed 12/13/19 Page 3 of 11 Document 54
      Here, the websites at issue are not hearsay. The websites are not being

offered to show the truth of the matter asserted; indeed, Plaintiff believes much of

the material on those websites is false. Fed. R. Evid. 801(a)(1). Instead, the websites

are probative of outside pressures that influenced and pressured investigators to act

in favor of Roe and against Doe, because of gender. Doe does not believe it likely to

be controversial that the websites at issue contained the relevant text; Defendant

has not questioned the accuracy of the statements, only ambiguously objected to

their admissibility. Nevertheless, at trial, Doe will be able to authenticate the

websites.

      Authentication is satisfied if the proponent produces evidence “sufficient to

support a finding that the item is what the proponent claims it is.” Fed. R. Evid.

901(a). Rule 901 “requires only a prima facie showing of genuineness and leaves it

to the jury to decide the true authenticity and probative value of the evidence.

United States v. Harvey, 117 F.3d 1044, 1049 (7th Cir. 1997). Here, the government

websites are self-authenticating. United States SEC v. Berrettini, 2015 U.S. Dist.

LEXIS 115963, *20 (N.D. Ill., Sept. 1, 2015).5

      As for the remaining websites, “exhibits reflecting information from

commercial websites must be authenticated by one of the methods allowed by Rule

901, including testimony from a witness with personal knowledge, expert testimony,

or reference to distinctive characteristics.” Id. at *20-21. Courts have authenticated




5Pursuant to Civil L.R. 7(j)(2), a copy of this decision has been filed as Exhibit 1 to
this brief.

                                       4
        Case 2:19-cv-00388-JPS Filed 12/13/19 Page 4 of 11 Document 54
websites with “an affidavit of a witness, when viewed in combination with

circumstantial indicia of authenticity (such as the existence of the URL, date of

printing, or other identifying information) would support a reasonable juror in the

belief that the documents are what the proponent says they are.” Id. at *21.

      Here, Plaintiff will either offer a sponsoring witness to authenticate that the

relevant text was published on the particular websites (as well as the URL, which

was already offered to the Court) or move that the Court take judicial notice of the

contents of the website. Fed. R. Evid. 201; GE Capital Corp. v. Lease Resolution

Corp., 128 F.3d 1074, 1081 (7th Cir. 1997) (quoting Rule 201 and holding that a

“court may take judicial notice of an adjudicative fact that is both 'not subject to

reasonable dispute' and either (1) 'generally known within the territorial

jurisdiction of the trial court' or (2) 'capable of accurate and ready determination by

resort to sources whose accuracy cannot reasonably be questioned.’”). Finally, even

if Plaintiff did have to overcome a hearsay objection at trial, the websites are

authenticatable as business records of the organizations sponsoring those websites.

      Hearsay Objections

      Defendant objects to the following Proposed Material Facts based on

inaccurate hearsay objections. Plaintiff’s response to these hearsay objections are

outlined in the chart below.




                                       5
        Case 2:19-cv-00388-JPS Filed 12/13/19 Page 5 of 11 Document 54
Exhibit at   Description of Exhibit       Plaintiff’s           Evidentiary Rule
Issue                                     Proposed Material
                                          Facts (“PPMF”)
                                          Numbers where
                                          Exhibit is at issue
A            2018 Code of Conduct         28                    Business record
                                                                (Fed. R. Evid.
                                                                803(6));
                                                                party admission
                                                                (Fed. R. Evid.
                                                                801(d)(2))
B            Doe’s 10/2/2018 Transcript   1, 12                 Prior consistent
                                                                statement (Fed. R.
                                                                Evid. 801(d)(1));
                                                                business record (Fed.
                                                                R. Evid. 803(6))
C            Doe’s First Appeal           15, 16                Not offered for the
                                                                truth (Fed. R. Evid.
                                                                801(c)); business
                                                                record (Fed. R. Evid.
                                                                803(6))
D            University’s First Appeal    17                    Party admission
             Decision                                           (Fed. R. Evid.
                                                                801(d)(2)); business
                                                                record (Fed. R. Evid.
                                                                803(6)); not offered
                                                                for the truth (Fed. R.
                                                                Evid. 801(c))
G            University’s Second          27                    Business record
             Appeal Decision                                    (Fed. R. Evid.
                                                                803(6));
                                                                party admission
                                                                (Fed. R. Evid.
                                                                801(d)(2)); not
                                                                offered for the truth
                                                                (Fed. R. Evid. 801(c))
H            Roe’s 10/1/18 Interview      3, 14                 Not offered for the
             Transcript                                         truth (Fed. R. Evid.
                                                                801(c))
M            University’s Findings        3, 13, 14             Business record
             Report                                             (Fed. R. Evid.
                                                                803(6));
                                                                party admission
                                                                (Fed. R. Evid.


                                     6
      Case 2:19-cv-00388-JPS Filed 12/13/19 Page 6 of 11 Document 54
                                                        801(d)(2)); not
                                                        offered for the truth
                                                        (Fed. R. Evid. 801(c))
N         Roe’s 10/11/2018            3                 Not offered for the
          Transcript                                    truth (Fed. R. Evid.
                                                        801(c)); business
                                                        record (Fed. R. Evid.
                                                        803(6)) See Dkt.32,
                                                        86:1-4
Q         University’s Second         18, 23            Business record
          Findings Letter                               (Fed. R. Evid.
                                                        803(6));
                                                        party admission
                                                        (Fed. R. Evid.
                                                        801(d)(2)); not
                                                        offered for the truth
                                                        (Fed. R. Evid. 801(c))
S         University and OCR          9                 Business record
          Resolution Agreement                          (Fed. R. Evid.
                                                        803(6)); party
                                                        admission (Fed. R.
                                                        Evid. 801(d)(2));
                                                        public record (Fed. R.
                                                        Evid. 803(8)); not
                                                        offered for the truth
                                                        (Fed. R. Evid. 801(c))
AA        Witness 9/18/18 Interview   3                 Business record
          Transcript                                    (Fed. R. Evid.
                                                        803(6));
                                                        party admission
                                                        (Fed. R. Evid.
                                                        801(d)(2));
                                                        absence of a
                                                        regularly conducted
                                                        activity (Fed. R.
                                                        Evid. 803(7))
EE        Title IX Case Chart         26                Party admission
          produced by Marian                            (Fed. R. Evid.
          University                                    801(d)(2)); business
                                                        record (Fed. R. Evid.
                                                        803(6)); Summary
                                                        1006




                                    7
     Case 2:19-cv-00388-JPS Filed 12/13/19 Page 7 of 11 Document 54
GG         Doe’s Response to 11/5/18   24                Prior consistent
           Interview                                     statement (Fed. R.
                                                         Evid. 801(d)(1))
II         Title IX Legal Case         25                Not offered for the
           Update Training                               truth (Fed. R. Evid.
                                                         801(c))
JJ         Updates in Compliance       5                 Not offered for the
           and Hot Topics Training                       truth (Fed. R. Evid.
                                                         801(c))
NN         Peter Lake Higher           5                 Not offered for the
           Education Training                            truth (Fed. R. Evid.
                                                         801(c)); business
                                                         record (Fed. R. Evid.
                                                         803(6))
OO         Campus SAVE/ Title IX       4, 13             Business record(Fed.
           Committee Meeting                             R. Evid. 803(6));
           Minutes 09/02/15                              Admission (Fed. R.
                                                         Evid. 801(d)(2))
QQ         January 2017 Student        6                 Admission (Fed. R.
           Conduct Processes Slides                      Evid. 801(d)(2)); not
           by Paul Krikau, PhD                           offered for the truth
                                                         (Fed. R. Evid. 801(c))
RR         Doe Declaration             2, 15, 24         Using declarations is
                                                         specifically provided
                                                         for in Rule 56(c)(1)(a)
Website    It’s on Us Website          7                 Not offered for the
                                                         truth (Fed. R. Evid.
                                                         801(c)); Business
                                                         record (Fed. R. Evid.
                                                         803(6))
Website    Dear Colleague Letter       10                Not offered for the
                                                         truth (Fed. R. Evid.
                                                         801(c)); Public record
                                                         (Fed. R. Evid. 803(8))
Website    The Hunting Ground          8                 Not offered for the
           Website, FN 3                                 truth (Fed. R. Evid.
                                                         801(c)); Business
                                                         record (Fed. R. Evid.
                                                         803(6))
Website    The Hunting Ground          8                 Not offered for the
           Website, FN 4                                 truth (Fed. R. Evid.
                                                         801(c)); Business
                                                         record (Fed. R. Evid.
                                                         803(6))


                                     8
      Case 2:19-cv-00388-JPS Filed 12/13/19 Page 8 of 11 Document 54
      As previously discussed, many of Defendant’s hearsay objections should be

overruled because the exhibits are not being offered for the truth of the matter

asserted. See Exhibits C, D, G, H, M, N, Q, S, II, JJ, NN, and QQ in the above chart.

Actually, Doe believes that the assertions in these exhibits, in many cases, are false.

The relevance of those exhibits is to show their effect on the Defendant and its

employees, specifically to demonstrate the investigators’ biases and discrimination

throughout Doe’s investigation.

      Other Objections

      Defendant objects to PPMF 4 because it “failed to cite admissible evidence in

the record to support the proposed fact.” PPMF reads as follows: “During the

Campus Save Committee Meeting on 03/15/16, the committee reviewed a case study

pertaining to a Title IX case that took place at George Mason University. The

committee discussed due process rights in these investigations. [Ex. OO (Dx 63) at

DEF002076].” There are two sentences in response to PPMF 4. At the end of the two

sentences, there is one cite, which encompasses both sentences.

      Defendant objects to PPMF 19, 20, 22 and 29 because they “failed to cite

admissible evidence in the record to support the proposed fact.” The evidence cited

is Kate Candee’s deposition, which is not only properly in the record, but more

importantly, is admissible evidence. Depositions are testimony and are specifically

provided for in Federal Rules of Civil Procedure 56(c)(1)(A), as well as Federal Rules

of Civil Procedure 32. As such, depositions are admissible evidence.




                                       9
        Case 2:19-cv-00388-JPS Filed 12/13/19 Page 9 of 11 Document 54
      Defendant objects to PPMF 22 because “Defendant’s counsel objected to the

form of the question asked by Plaintiff’s counsel.” PPMF 22 reads “Notably, as the

Title IX Coordinator, it was Investigator Candee who oversaw the implementation

of the new Code of Conduct. [Dkt. 34:123:14-20].” When Candee was asked in her

deposition, “Is it fair to say that as the Title IX coordinator, you oversaw the

implementation of the new code of conduct that was put into place in October of

2018,” Defendant objected on form. Candee answered “yes.” Now, Defendant uses

this deposition objection to object to PPMF 22; however, Defendant now fails to

provide their legal basis for its objection. Regardless, any objection should be

overruled, and the fact is properly before the Court.


DATED: December 13, 2019                     Respectfully submitted,


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                                      10
       Case 2:19-cv-00388-JPS Filed 12/13/19 Page 10 of 11 Document 54
                           CERTIFICATE OF SERVICE

      I hereby certify that on December 13, 2019, I filed the foregoing using the

Clerk’s CM/ECF system, which will provide notice to all counsel of record.



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                                      11
       Case 2:19-cv-00388-JPS Filed 12/13/19 Page 11 of 11 Document 54
